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-v- 2:00CR20256-01-D

KENNETH GREGORY
Diane Smothers FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

 

A-M-E-N-D-E-D* JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the |ndictment on lVlay 01, 2001. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Numberjsj
Concluded
18 U.S.C. 1791(a)(2) Possessing Contraband in Prison 02/26/2000 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant’s Date of Birth: 1-0/20/56 April 15, 2005
Deft’s U.S. Marshal No.: 03195-063

Defendant’s l\/|ai|ing Address:
RT 1 BOX 340
SAPULPA, OK 74066 US

Defendant’s Residence Address:
|n Custody

     
 

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/ BERNlcE e. ooNALo
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Aprilo?J , 2005

Thls document entered on the docket sheet in compliance
with Ru|e 55 and/or 32(b) FFiCrP on " ’O

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Case No: 2:00CR20256-01 Defendant Name: Kenneth GREGORY Page 2 of 4

|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months*, said term of incarceration to be served
consecutive to defendant’s undischarged federal sentence.

The Court recommends to the Bureau of Prisons:

That the defendant participate in the intensive Drug Treatment Program while
incarceratedl

The defendant is remanded to the custody of the United States Marshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified Copy of this
judgment
UN|TED STATES |VIARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 2:OOCR20256-01 Defendant Name: Kenneth GREGORY Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
emptoyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:00CR20256-01 Defendant Name: Kenneth GREGORY Page 4 of4

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| lVlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment as directed by the
Probation Officer;

The defendant shall abide by all conditions of supervised release previously imposed by the
Judgment entered by Judge Jon P. NlcCa|la.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00- PA|D

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUTION
No Restitution was ordered

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 112 in
case 2:00-CR-20256 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed

ENNESSEE

 

Stuart J. CanaIe

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. HighIand Ave.

Ste. B-S

Jackson7 TN 38301

Honorable Bernice Donald
US DISTRICT COURT

